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                      U N IT E D STA T E S D IST R IC T C O U R T
                      SO U T H ER N D IST R IC T O F FL O R ID A

CA PELLA PH O TON IC S,lN C.,
           Plaintiff,
V.
C ISCO SYSTEM S,lN C.,                                      Case N o.14-20529-C1V -SE1TZ
            D efendant.


 CIEN A CO RPOM TION ,                                      C aseN o.l4-20530-ClV -SElTZ A
               D efendant.

 V.
 FUJITSU N ETW ORK                                          Case N o.14-20531-C1V -SE1TZ
 CO M M UN ICA TION S,lN C .,
              Defendant.

 V.
 TELLABS OPEM TION S,m C.,and                               Case N o.14-60350-C1V -SE1TZ
 CORJANT (USA)INC.,
               D efendants.


         O RDER G M NTIN G D EFEN DAN TS'M O TIO N S TO TM N SFER

        THIS M ATTER isbeforetheCourton the motionsto transfervenueto theNorthern

 D istrictofCalifornia tiled by the five D efcndantsin the above-styled actions:Cisco System s,

 Inc.,CienaCorporation,FujitsuNetworkCommunications,lnc.,TellabsOperations,lnc.,and
 Coriant(USA)lnc.(collectivelySsDefendants'').(DE-19(14-20529),
                                                              .DE-43(14-20530),
                                                                              .DE-
 25(14-20531);DE-63(14-60350)2.1BecauseDefendantshavesatistiedtheirburdentoshew
 thatthe factualcircum stances strongly favortransferto theN orthern D istrictofC alifornia

 plzrsuantto28U.S.C.j1404(a),theCourtwillgrantDefendants'motionstotransfer.


 l     B ecause these m otions focuson essentially the sam e factualand legalissues,the Court
 willaddressthem together,noting any relevantdistinctionsasthey arise.
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                         1.     Proceduraland FactualB ackground

 A .The PatentsatIssue and ProceduralH istory

        The Com plaintallegesthatPlaintiffistheownerofthepatents-in-suit:United States

 PatentNo.1V 42,368(the:$$368patent'')andUnitedStatesPatentNo.1V 42,678(the16$678
 patent'').2The $368 patentw asinvented byTaiChen, JeffreyP.W ilde,andJosephE.Davis
 and wasissued onM ay 17,2011.The $678patentwasinvented by Jeffrey P.W ilde and Joseph

 E.Davisand wasissued on September6,2011.M r.W ildeandM r.Daviscurrently reside in

 northernCalifornia,whileMr.Chen'slocationisunknown.(Hr'gTr.140:20-21,July 10,
 2014.)Theprosecutingattorneysforthetwopatents,BarryYoung,DavidAlberti,andJoshua
 Isenberg,arealsolocatedinnorthernCalifomia.(CheungDecl.Exs.H,J,L (DE-43-9,43-11,
 43-13(14-20530)j).Thepatents-in-suithavebothbeenassignedtoPlaintiffCapellaPhotonics,
 lnc.(é$Cape11a''),whoseprincipalofficeisinnorthel'
                                                  nCalifornia.
        Both patents-in-suitrelate to fiber-optic com m unication system s,w hich transm itdata

 overopticalfibers in the fonn oflightsignals.M ultiple signals,each using a different

 w avelength oflight,can travelalong a single opticaltibersim ultaneously.Specifically,the

 patents-in-suitareforreconfigurableopticaladd-drop multiplexers($tROADM''s),whichare
 devicesthatcan separateanddirecteachwavelengthoflightintoseparatechannels.A major
 componentofthepatents-in-suitisawavelength selectiveswitch(ç$W SS'')3,whichusesan
 array ofm icrom irrorsto route lightsignalsbetween opticalfibers.According to their

 sum m aries,distinctive features ofthe patents-in-suitinclude the m icrom irrors'ability to pivot

 along two axes and the ROA D M 'Scapacity forpowercontrol.


 2      These patentsare a reissue ofN o. 6,879,750 and N o.6,625,346,respectively.
       The W SS isalso know n asa Esw avelength-separating router''or a Sfw avelength cross-
 connectsw itch.''
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        On February 7,2014,Plaintifffiled separatesuitsagainstDefendantsCisco Systems,

 lnc.(dtCisco''),CienaCorporation(ç$Ciena''),FujitsuNetworkCommunications,lnc.($tFNC'')
 andTellabs,lnc.(ç'Tellabs'')forinfringementofbothpatents-in-suit.4Plaintiffallegesthat

 DefendantsStinfringed andcontinuegltodirectlyinfringe...bymaking,using,selling,offering
 to selland/orim porting opticalROA D M products thatincom orate a w avelength selective

 switch.''(See,e.g.,SecondAm.Compl.(DE-82(14-20530)1at5!23.)
        On April4,2014,Cisco m oved to transferto theNorthern DistrictofCalifornia

 pursuantto section 1404(a).5On April29,2014,CapellaamendeditscomplaintagainstTellabs

 toadd DefendantsTellabsOperations,lnc.CdTellabsOps''),ColumbusNetworksUSA,Inc.,
 andCoriant(USA)Inc.(iûcorianfl.6OnM ay 1,2014,Capellaamendeditscomplaintagainst
 Ciena to add DefendantTelefonica,S.A .

        OnJuly10,2014,theCourtheldajointschedulingandplarmingconference.Following
 the conference,Tellabs,Inc.and Telefonica,S.A .w ere dism issed,Telefonica lnternational

 W holesaleServicesUSA,lnc.wasjoined,andColumbusNetworksUSA,lnc.andTelefonica
 lnternationalW holesaleServicesUSA,Inc.weresevered.7(seeDE-74(14-20529);DE-80,85

 (14-20530);DE-63(14-20531);DE-71(14-60350)1.



 4      Because the sam e patentsand claim s ofinfringem entare atissue in each case, they
 wereallassignedtotheundersigned inordertopromotejudicialefficiencyandreducecosts.
 W iththeparties'consent,thecaseshavesincebeenconsolidatedforpretrialpurposes.(ks'
                                                                                 ee
 DE-76(14-20529);DE-86(14-20530);DE-65(14-20531);DE-75(14-60350)1.
        FN C and Ciena m oved to transferon A pril15 and A pril25,2014,respectively.
        Coriantand Tellabs Ops m oved to transferon June 20,2014.
         Colum busN etworks U SA ,Inc.and Telefonica lnternationalW holesale Services U SA ,
 Inc.w ere severed because they are Florida-based custom ers ofCoriantand Ciena and offerno
 m eaningfulcontribution to the patentdispute.Capella'scases againstthem are stayed pending
 the resolution ofthe above-styled actions.

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 B.The Parties

   1. PlaintW capella
       Capellaisa Delawarecop oration with aprincipalplaceofbusinessin San Jose,

California.Capella designed,developed,produced,and sold switching devicesforoptical

transm ission networks,including the W SS,untilitsold itsm anufacturing operations tw o years

ago and ceased doing business.Thus,Capellaiscurrently anonpracticing entity.Capella has

no officesoroperationsin Florida,and itsseniorm anagementand lead counselin thism atter

al1residein theNorthern DistrictofCalifom ia.

   J. DefendantCisco,CaseNo.14-20529
       Cisco isaCalifornia corporation with itsprincipalplaceofbusinessin San Jose,

California.Forty-five percentofitsU .S.em ployeesw ork in itseightoffices in the N orthern

DistrictofCalifomia.(HaaseDecl.gDE-19-4(14-20529)1!!7,9.)Ciscohastwoofficesin
Florida,butneitherofficehasanyinvolvementwiththeaccusedproducts.(f#.!! 11-13.)The
majorityoftheCiscoemployeesinvolvedindevelopingandmarketingtheaccusedproducts
workinCisco'sSanJoseoffices.(JohnsonDecl.(DE-19-1(14-20529))!!5,12,14.)
       Cisco purchasesthe W SS devicesincorporated into itsaccused products from tllree

suppliers'
         .JDSUniphaseCorporationCSJDSU'')FinisarComoration (çsFinisar''),andOclaro
lnc.(i.Oc1aro'').(1d !! 8-10.)BecauseCiscodoesnotmanufacturetheW SS devices,ithas
lim ited know ledge ofthe design and developm entofthe sw itch.The w itnesses and docum ents

from the W SS suppliers are im portantto Cisco's defensesofnon-infringem entand invalidity.

       DefendantCiena,CaseNo.14-20530
       Ciena is a D elaw are corporation with itsprincipalplace ofbusiness in H anover,

M aryland.W hile Ciena does have thirteen em ployees in D oral,Florida,none ofthem have any


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                                                4-
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 involvem entwith the design ordevelopmentofthe accused products. (RothensteinDecl.(DE-

43-24(14-20530))! 11.)Moreover,Ciena'slargestU.s.-basedresearchanddevelopment
facilityislocatedinSanJose,California.Lld.! 8.)
       LikeCisco,CienapurchasestheW SS devicesincorporated into itsaccused products

from JDSU,Finisar,andOclaro.Lld.!4.)BecauseCienadoesnotmanufacturetheW SS
devices,it,too,haslim itedknow ledgeofthedesign and developm entofthe switch.

A ccordingly,w itnesses and docum entsfrom the W SS suppliers are im portantto Ciena's

defensesofnon-infringementand invalidity.

    4. DefendantFNC CaseNo.14-20531
       FN C is a California corporation w ith itsprincipalplace ofbusiness in Itichardson,

Texas. FN C hasno officesin Florida butdoes lease one cubicle8from an outside party in

Jacksonville,Florida.(Galou Decl.gDE-27(14-20531))!(! 13-15.)FNC hasaplaceof
businessin Sunnyvale,Califom ia,which em ploysroughly 86 people,includingengineers

involvedinthedesign,development,andtestingoftheaccusedproducts.(1d.!9.)
       LikeCisco and Ciena,FNC purchasestheW SS devicesincorporated into itsaccused

productsfrom JDSU,Finisar,andOclaro.tf#.!!5-7.)BecauseFNC doesnotmanufacturethe
W SS devices,it,too,haslimited knowledgeofthedesign,development,and fundion ofthe

switch.The witnesses and docum entsfrom the W SS suppliers are im portantto FN C 'S defenses

ofnon-infringem entand invalidity.

   J. DefendantsTellabs0psand Coriant,CaseNo.14-60350
       TellabsOpsisaDelawarecop orationwith itsprincipalplaceofbusinessin Naperville,

lllinois.TellabsOpshasacorporateoftkeinSantaClara,Califomia.(W angDecl.(17E-63-3

8      The employeewho occupiesthatcubicle, how ever,isnotinvolved in the design,
developm ent,m anufacture,oranalysis ofthe accused product.
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(14-60350))!!9-10.)W hileTellabsOpspreviouslyleasedtwoofficesin Florida,ithasnot
donesosince2011.(1d ! 15.)
       Coriantis a D elaware corporation with itsprincipalplace ofbusiness in Bridgew ater,

New Jersey.Corianthasno officesin FloridaorCaliforniabutdoesbusinessinboth.(Benson
Decl.(17E-63-4(14-60350)1!!9,11.)
       Similarto theotherDefendants,TellabsOpsand Coriantdo notmanufacture the W SS

devicesthatareincorporated into theiraccused devices.TellabsOpspurchasesthe W SS

devices itusesin the accused products from Finisar,Oclaro,and Oplink C orporation

Cioplink''l.(W angDecl.!6.)Similarly,CoriantpurchasestheW SS devicesthatare
incorporatedintoitsaccusedproductsfrom JDSU andFinisar.(BensonDecl.!6.)Because
TellabsOpsand Coriantdo notm anufacturetheW SS devices,they have lim ited knowledgeof

thedesign and developmentoftheswitch.Thewitnessesfrom the W SS m anufacturersare

importantto TellabsOpsand Coriant'sdefensesofnon-infringem entand invalidity.

   6. GxsW SuppliersJDSV Finisar,Oclaro,and Oplink
       JDSU designs,develops,and suppliesmany ofthe W SS devicesthatare incorporated
into the accused products. (RetortDecl.(17E-63-5 (14-60350)1!5.
                                                              )9A lthough itsW SS
devicesaremanufactured outsidetheUnited States,JDSU isheadquartered in theM ilpitas,

Califomia.(f#.!2,11.)ItsCommunicationsandCommercialOpticalProducts(diCCOP'')
Business Segm entisresponsible forthe design,developm ent,m anufacture,m arketing,and sale

ofW SS devices.(1d.!7.)W hilethemajorityoftheinitialdesignanddevelopmentwas


9      A llD efendants share the sam e W SS suppliers, w ith the exception ofCoriantw ho also
uses Oplink.ln supportoftheirm otionsto transfer,Defendants filed declarationsby certain
employeesofthesesuppliersthatareessentiallythesamein eachcase.(Compare,e.g.,Retort
Decl.with (DE-19-5(14-20529)1.)Accordingly,theCourtwillrefertothedeclarationsfiled in
Case N o.14-60350.

                                             -   6-
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perform ed in O ttaw a,Canada,JD SU 'S CCOP Business Segm entis now based in the N orthern

DistrictofCalifornia.(1d.!7,10.)JDSU hasnamedthreeemployeeswhooverseeW SSdesign
anddevelopment,allofwhom resideintheNorthernDistrictofCalifornia.(Seei#.;M umm
Decl.(DE-63-6(14-60350)1;Kim Decl.(DE-63-7(14-60350)1.)
       Finisar,Oclaro,and Oplink also design,develop,and supply some ofthe W SS devices

thatare incop orated into the accused products.Finisar isheadquartered in Sunnyvale,

California;OclaroinSanJose,California;andOplinkinFremont,California.(W angDecl.
 (DE-63-3(14-60350)1!!6-7.)Therecordcontainslimitedevidenceregardingthedesign,
developm ent,and m anufacturing activities ofthese W SS suppliers.


                     II. LegalStandardfor# 1404(a) Transfers
       STortheconvenienceofpartiesandwitnesses,intheinterestofjustice,adistrictcourt
m aytransferanycivilaction to any otherdistrictordivision where itm ighthavebeen brought

ortoanydistrictordivisiontowhichal1partieshaveconsented.''28U.S.C.j 1404(a).The
purpose oftransferunderthissection isto avoid urmecessary inconvenience to the litigants,

w itnesses,and the public,and to conserve tim e,energy,and m oney.D efendants m oving for

transferbearthe burden ofproving thattheplaintiffschoiceofforum Stisclearly outweighed

byotherconsiderations.''Howellv.Tanner,650F.2d610,616 (5thCir.1981).
       A courtconsiderstwo questionsto detenninewhethertransfening venueisappropriate.

First,isthe transferee forum one in w hich the action m ighthave been brought? Second,upon

balancingtheprivateandpublicfactors,istransferjustified?M ason v.SmithKline Beecham
 ClinicalLabs., 146 F.Supp.2d 1355,1359(S.D.Fla.2011).The factors considered in
analyzing the second question include:
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       (1) theconvenienceofthewitnesses;(2)thelocationofrelevantdocllmentsand
       therelativeeaseofaccesstosourcesofproof;(3)theconvenienceoftheparties;
       (4)thelocusofoperativefacts;(5)theavailability ofprocessto compelthe
       attendanceofunwillingwitnesses;(6)the relative means ofthe parties;(7)a
       forum's familiarity with thegoverning law;(8)the weightaccorded a
       plaintiff'schoice offorum;and (9)trialefficiencyandtheinterestsofjustice,
       basedon thetotalityofthecircumstances.

Wi-LAN USA,lnc.v.AppleInc.,No.12-24318,2013W L 1343535,at*2(S.D.Fla.Apr.2,
2013)(quotingManuelv.Convergys Corp.,430 F.3d 1132,1135 n.1 (11th Cir.2005)).

A .W hether the Claim s M ightH ave Been B roughtin the Northern D istrictofC alifornia

       There is no dispute thatthis action could have been broughtin the N orthem D istrictof

California.M oreover,allD efendantshave consented to suitthere.

B.W hether Transfer to the N orthern D istrictof California is M ore Convenientto A ll

Parties and W itnesses

   1. Convenienceof Witnesses
       The convenience ofthe w itnesses isprobably the single m ostim portantfactorin a

transferanalysis.A districtcourtshouldassessthe relevanceand m ateriality ofthe infonnation

each w itnessm ay provide,buta defendantneed notspecify exactly whattestim ony each

witnessm ightofferorotherwiseidentify Stkeywitnesses.''In reGenentech,Inc.,566 F.3d

1338,1343-44(Fed.Cir.2009).
       Defendantshavenamed potentialwitnesseswith knowledgeoftheW SS devicesofthe

accused productsand have provided explanationsofthe relevanttestim ony.The nnm ed JD SU

em ployeesresponsible forthe design,developm ent,and testing ofthe W SS devicesreside in

theN orthem D istrictofCalifornia,as do the inventorsand initialprosecuting attorneysofthe

patents-in-suit.The otherW SS suppliersare also headquartered w ithin the N orthern Districtof

California and so are likely to have w itnesses with relevantinfonnation there.A ccordingly,

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 DefendantsassertthemajorityofpotentialwitnesseswithrelevantknowledgeoftheW SS
 devicesare located in theNorthern DistrictofCalifom ia.

         In contrast,noneofthepartieshave identitied any witnessesin Floridawith relevant

 inform ation.Becausem any potentialwitnessesappearto belocated intheNorthern Districtof

 Californiabutnone in Florida,thisfadorstrongly favorstransfer.

    2. EaseofAccesstoSourcesofproof
         In patentinfringem entcases,thebulk ofthe relevantevidenceusually comesfrom the

accused infringer.In reGenentech,566F.3d at1345.Here,therelevantdocumentary evidence

isscattered in differentlocationswhere Defendantsareheadquartered,butnone islocated in

the Southem DistrictofFlorida.On theotherhand,m any Defendantshave officesin the

Northern DistrictofCalifom ia,and the W SS suppliersareheadquartered there.

         However,asCapellasuggests,docum entprodudion islikely to beconducted

electronically,and there is no indication thatthis case w illrequire physicalevidence thatw ould

be cum bersom eto transport.See W i-LAN USA,20 13 W L 1343535,at *3.A s such,the access-

to-evidence fad oris neutral.

         TheConvenienceoftheParties
         W here atransfersim ply shiftstheinconvenience from oneparty to another,aplaintiffs

choice offorum should rem ain undisturbed.Capella'schoiceofforum in theSouthern District

ofFloridaindicatesthatitisconvenientforit.However,transfertotheNorthern Districtof

California w illnotinconvenience Capella,asits corporate headquarters and counselare located

there.

         D efendants,on the otherhand,allappearto be inconvenienced by the Southern D istrid

ofFlorida because none have ofticesw ithin the state relating to the accused products. In

contrast,while D efendantsm ay notal1be headquartered in California,m any have oftices
                                             -
                                                 9-
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 located in theNorthern DistrictofCalifornia, and allhaveconsentedto venuethere.

 Accordingly,theconvenience-of-the-partiesfactorweighsin favoroftransfer.

     4. LocusofoperativeFact
        The centerofgravity forapatentinfringem entcase isgenerally wheretheaccused

 productwasdesignedand dtveloped.M otorola M obility lnc. v.M icrosoh Corp.,804F.Supp.

 2d 1271,1276(S.D.Fla.2011).Capella'spleadingsandinfringementcontentionsemphasize
 theW SS,acomponentoftheROADM ,m aking itclearthatthe design and developmentof

 W SS devicesand theirusein theaccused ROADM Swillbe centraloperative factsinthiscase.

 (See,e.g.,SecondAm .Compl.(DE-82(14-20530))at5!23;Prelim.Infringement
 ContentionsgDE-25(14-20529)1at2.)W hiletheW SS deviceswerenotfully designedand
 developed in theNorthern DistrictofCalifom ia,theJDSU headquarters,CCOP business

 segm ent,and engineerscurrently responsible forthe design and developmentofthe devicesare

 located there.ln contrast,neitherthedesign northedevelopm entofthe W SS devicestook

 place in Florida.

        CapellaarguesthatDefendantssupply ROADM Sforopticalnetworksdeployed in

 Florida.However,Defendantsoffertheaccused produdsforsalenationwide,which doesnot

 giveriseto a substantialinterestin any specitk venue.See In reAcerAmerica Corp.,626 F.3d

 1252,1256(Fed.Cir.2010).
        Accordingly,the locus ofoperative factisin the N orthern D istrictofCalifornia,not

 Florida.Thisfactorfavorstransfer.

        TheAvailabilityofprocesstoCompeltheAttendanceof Unwilling Witnesses
        Courtsgenerally transfercases when im portantw itnesses could be subpoenaed in the

 transfereefonzm butnotin the originalforum .Wi-LAN USA,2013 W L 1343535,at*4.M any

 ofthepotentialwitnessesarethird party witnessesin Califom ia,whoseattendancethe
                                            -
                                                10 -
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 Northern Distrid ofCalifom iacan compelwith itsRule45subpoenapower.The Southem

 DistrictofFlorida,however,cannotenforcecompulsory processoverthese potentialwitnesses

 because none reside in Florida.A lthough Capella argues thatdepositions ofthese witnesses

 could beused attrial,videotaped depositionsarepoorsubstitutesforlivewitnesses,especially

 incomplexpatentcaseswherethejurorsmayhavefollow-up questionsafterredirect
 exam ination.A ccordingly,this factorw eighs in favor oftransfer.

    & TheRelativeM eansoftheParties
        Capella'sprincipalargum entisthatitisa sm allcom pany thatneedsto protectits

 patentsin a forum thatis fasterthan theN orthern D istrictofCalifom ia.How ever,Capella is

 only smallbecauseitdecided to sellitsassets,and the difference in timeforprosecutingpatent

 casesbetw een the tw o districts is atm ostsix m onths,w hich can hardly be considered

 problem atic.Accordingly,thisfactorisatmostneutral.

    2 .4 Forum 's Fam iliarity with the G overning Law

        Both districts are fam iliarw ith federalpatentlaw .This factoris neutral.

    #. PlaintW sChoiceofForum
        Generally,theplaintiffschoiceofforum isgiven considerable deference.Robinson v.

 GiarmarcotfBill,P.C.,74F.3d253,260(11thCir.1996)(plaintiffschoiceofforum should
 notbedisturbedunlessitisclearlyoutweighedbyotherconsiderations).However,only
 minimaldeferenceisrequiredwhere(a)aplaintiffhaschosenaforum thatisnotitshome
 forllm or(b)theoperativefactsunderlyingthecauseofactiondidnotoccurwithintheforum
 the plaintiffhaschosen.Cellularvision Techs.& Tellecom m .,L .P.v.A lltelCorp.,508 F.Supp.

 2d l186,1889(S.D.Fla.2007);Wi-LAN USA,2013W L 1343535,at*5.



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        CapellaisaDelawarecop oration with itsprincipalplaceofbusinessin San Jose,

 California.Itsseniorm anagem entand lead counselallreside in theNorthern Districtof

 Californiawith no officesoroperationslocated in Florida.Aspreviously discussed, the locus

 ofoperativefactisin theNorthem DistrictofCalifornia.Becausethe Southern Districtof

 Florida isneitherCapella'shom efonlm northelocusofoperative fact,Capella'schoice is

 entitled to minim aldeference,and thisfadorweighsonly weakly againsttransfer.

    #. TrialEffciency andtheInterestsoflustice
        The Courtm ustalso take into consideration the public-interestconsiderationsof

 systemicintegrityandfairness,such asjudicialefficiencyandtheforum state'sconnectionto
 thedispute.SeeM otorolaM obility,804F.Supp.2d at1278.

        TheNorthel'n Distrid ofCalifornia'slocalinterestisgreaterthan tht Southern District

 ofFlorida'sinterestbecausethemajorityofthepartiesandthirdpartieshaveeither
 headquartersormajorofûceslocatedwithintheNorthern DistrictofCaliforniaandallconduct
 businessthere.In contrast,asdiscussed above,none ofthepartieshavesignificantcontacts

 with the Southern DistrictofFlorida and a11w itnessesreside outside ofFlorida.

        Asforjudicialefficiency,thestcaseshavebeenconsolidatedforpretrialcase
 m anagem entbecausethey involvethe snmepatentsand substantially sim ilarissuesof

 infringem ent,and they should remain consolidated in eitherforum .W hile Capellam ay be

 correctin asserting thattheSouthem DistrictofFlorida'sdocketism inim ally lesscongested,

 thisconsideration isoutweighed by thisdistrict'slack ofconnection to the dispute.SeeIn re

 Genentech,Inc.,566F.3dat1347(timetotrialmaybeaconsiderationinthetransferanalysis,
 butshouldnotoutweighseveralotherrelevantfactorspointingtheotherway).Accordingly,on
 balance,theinterests-of-justicefactorfavorstransfer.


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                                       111. Conclusion

        W hen al1oftherelevantfactorsareconsidered,the CourtfindsthatDefendantshave

 m ettheirburden ofshow ing thattransferofthese fourcases to the N orthel'n D istrictof

 California isappropriate,particularly given thelimited deferenceowed Capella'schoiceofa

 venue which isneither its residence northe locusofoperative fact.A ccordingly,itis

        O RDERED that

        1)     lnCapellaPhotonics,lnc.v.Cisco Sys.,lnc.,CaseNo.14-20529:
               a. Cisco'sMotiontoTransferVenue(DE-19)isGRANTED.
        2)     In Capella Photonics,Inc.v.Ciena Corp.,eta1.,Case N o.14-20530:

               a. Ciena'sM otiontoTransferVenuegDE-43)isGRANTED.
        3)     InCapellaPhotonics,Inc.v.FujitsuNetworkCommc'ns,CaseNo.14-20531:
               a. FNC'SMotiontoTransferVenuegDE-251isGRANTED.

        4)     In CapellaPhotonics,Inc.v.Tellabs,lnc.,eta1.,CaseNo.14-60350:

               a. TellabsOpsandCoriant'sM otiontoTransferVenue(DE-63)is
                   G RAN TED .

        5)     TheClerkshallTRANSFER thefourabove-styledactionstotheUnited States
               DistrictCourtfortheNorthern DistrictofCalifornia.Thenoticeoftransfer

               shallnotethatthecaseshavebeen consolidated forpretrialpurposes.
                                                    X-      j z()j4.
        DONE and ORDERED in M iam i,Florida,this 2 5 dayofJuy,

                                                             -       *




                                                        PATRICIA A .SEITZ
                                                        UN ITED STA TES D ISTRICT JU D GE

 cc:    A llCounselofRecord




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